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                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

                                        EUGENE DIVISION



KELSEY CASCADIA ROSE JULIANA,                                              No. 6:15-cv-01517-AA
et al.,                                                                                   ORDER

                       Plaintiffs,
                v.
THE UNITED STATES OF AMERICA,
et al.,

                       Defendants.


AIKEN, District Judge.

        This case was originally filed in August 2015. After a protracted period of discovery

disputes, dispositive motions, and mandamus petitions, this case was set for trial beginning on

October 29, 2018, with a pretrial conference to be held on October 23, 2018. On October 19, 2018,

the United States Supreme Court issued an administrative Order staying trial and all discovery in

response to a petition for a writ of mandamus and application for stay filed with the Court by

federal defendants. (doc. 399) Pursuant to that Order, this Court vacated the trial date and all

related deadlines.    On November 2, 2018, the Supreme Court denied federal defendants'

application for stay pending disposition of their petition for a writ of mandamus without prejudice,

specifically noting the impropriety of seeking review from the Supreme Court without first filing

a petition with the relevant circuit court. (doc. 416)


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        On November 5, 2018, pursuant to the Supreme Court's Order vacating the administrative

stay, this Court scheduled a status conference for November 8, 2018 at 3:30 p.m. to confer with

the patiies concerning the status of this litigation. (doc. 417) Over the course of these proceedings,

this Court has been aware of federal defendants' concerns and their interest in pursuing an

interlocutory appeal. Given the sheer volume of evidence submitted by the patiies, however, this

Comi believed that a bifurcated trial might present the most efficient course for both the parties

and the judiciary. The Comi has discussed on the record dividing the trial into a liability phase

and a remedy phase pursuant to Federal Rule of Civil Procedure 42(b). The Comi would then be

able to reserve the question of interlocutory appeal by either patiy until the close of the liability

phase once all the evidence and testimony could be distilled into a more cohesive and accessible

record. Should the liability phase of the trial have resulted in a finding for plaintiffs, for example,

federal defendants would have been able to pursue an appeal of that detennination before the Court

proceeded to the remedy phase of this case. The Court believed that such a course would allow

reviewing courts to consider the pmiies' arguments on appeal with the benefit of a fully developed

factual record.

       Apart from the possibility of resetting the trial date at the November 8, 2018 status

conference, there were several pending motions, discovery disputes, and evidentiary matters that

required the Court's consideration. Given the number of attorneys and expert witnesses involved

in the case and the scheduling issues inherent in the upcoming holiday season, the Comi anticipated

that any new beginning trial date would be set, at the earliest, in January or February of 2019.

       Later on November 5, 2018, federal defendants belatedly filed a petition for a writ of

mandamus with the United States Couti of Appeals for the Ninth Circuit in United States v. USDC-




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ORE, Case No. 18-73014, in which they also sought an emergency stay of proceedings in this

Court pending the disposition of their petition.

        On November 8, 2018 at 1:25 p.m., the Ninth Circuit issued an Order in Case No. 18-

73014, staying trial in this case pending that court's consideration of defendants' mandamus

petition. At 3:30 p.m. that same day, the Court held its telephonic status conference, during which

it notified the parties of the Ninth Circuit's order staying trial. During the status conference, the

paiiies repmied that they had met earlier that morning to confer on the pending evidentiary motions

and had reached tentative resolutions on some outstanding discovery issues. Consistent with the

Ninth Circuit's Order, no new trial or pretrial conference dates were set.

       In its November 8 Order, the Ninth Circuit also invited this Court to revisit its decision to

deny interlocutory review. "'As long as a district court has jurisdiction over the case, then it

possesses the inherent procedural power to reconsider, rescind, or modify an interlocutory order

for cause seen by it to be sufficient.'" City of Los Angeles, Harbor Div. v. Santa Jvfonica

Baykeeper, 254 F.3d 882, 885 (9th Cir. 2001) (quoting .Melancon v. Texaco, Inc., 659 F.2d 551,

553 (5th Cir. 1981)). "[W]heu a district court issues 'an interlocutory order, the district comi has

plenary power over it and this power to reconsider, revise, alter or amend the interlocutory order

is not subject to the limitations of Rule 59."' Id (quoting Toole v. Baxter Healthcare Co,p., 235

F.3d 1307, 1315 (11th Cir. 2000)).

       With respect to the question of interlocutory appeal, appellate review is generally available

only after a final judgment has been entered by a district court.        28 U.S.C. § 1291.      The

Interlocutory Appeals Act, 28 U.S.C. § 1292(6), provides a limited exception to that requirement:

"When a district judge, in making in a civil action an order not othe1wise appealable under this

section, shall be of the opinion that such order involves a controlling question of law as to which




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there is substantial ground for difference of opinion and that an immediate appeal from the order

may materially advance the ultimate termination of the litigation, [s]he shall so state in writing in

such order." 28 U.S.C § 1292(b). "Even where the district comt makes such a ce1tification, the

court of appeals neve1theless has discretion to reject the interlocutory appeal[] and does so quite

frequently." James v. Price Stern Sloan, Inc., 283 F.3d 1064, 1068 (9th Cir. 2002) (citing to 16

Wright, Miller & Cooper § 3929, at 363).

        Congress did not intend district courts to ce1tify interlocutory appeals "merely to provide

review of difficult rulings in hard cases." US. Rubber Co. v. Wright, 359 F.2d 784, 785 (9th Cir.

1966). Rather such ce1tification should be granted only "in extraordinary cases where decision of

an interlocutory appeal might avoid protracted and expensive litigation." Id.

        Thus, interlocutory ce1tification is ce1tainly the exception rather than the rule in applellate

review. Reserving appellate review of a district court's decisions for after trial or a final judgment

serves several impmtant purposes. Crucially, it "emphasizes the deference that appellate comts

owe to the trial judge as the individual initially called upon to decide the many questions of law

and fact that occur in the course of a trial." Firestone Tire & Rubber Co. v. Risjord, 49 U.S. 368,

374 (1981). The impmtance of this concept was recognized by Congress when, in drafting 28

U.S.C. § 1292, it granted district comts the sole discretion to decide in the first instance whether a

case or order is appropriate for interlocutory review. 1

       The function of trial courts in our judicial system is to initially consider the myriad

evidence and legal issues offered by the parties and then refine them to their most essential form,




        1
         "The legislative history of the Act clearly shows that in passing this legislation Congress
did not intend that the comts abandon the fmal judgment doctrine and embrace the principle of
piecemeal appeals." United States v. Woodbury, 263 F.2d 784, 788 (9th Cir. 1959).



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rendering judgment and relief as the law allows.                Our judicial system affords district

couiis the respect of operating under an assumption that such courts do not "insulate hotly

contested decisions from [] review simply by fast-tracking those decisions and excluding them

from its published determination." Indep. Producers Group v. Librarian of Cong., 792 F.3d 132,

138 (D.C. Cir. 2015). Here, the Cami has deliberately considered all motions brought by the

pmiies, and its decisions are accessible for appellate scrutiny. (docs. 83, 172, 238, and 369) Trial

courts across the country address complex cases involving similar jurisdictional, evidentiary, and

legal questions as those presented here without resorting to ce1iifying for interlocutory appeal. As

Justice Stewmi noted, "the proper place for the trial is in the trial court, not here." Baker v. Carr,

369 U.S. 186, 266 (1962) (Stewart, J., concurring.)

       Imp01iantly, the Supreme Court has recognized that "[pJermitting piecemeal appeals would

undermine the indepe1idence of the district judge[.]" Id. Additionally, ordinary adherence to the

final judgment rule is in accordance with the sensible policy of "avoid[ing] the obstruction to just

claims that would come from permitting the harassment and cost of a succession of separate

appeals from the various rulings to which a litigation may give rise, from its initiation to entry

of judgment." Id. (quoting Cobbledick v. United States, 309 U.S. 323,325 (1940)). The Court

notes again that this three-year-old case has proceeded through discovery and dispositive motion

practice with only trial remaining to be completed.

       This Couii stands by its prior rulings on jurisdictional and merits issues, as well as its belief

that this case would be better served by further factual development at trial. The Cami has,

however, reviewed the record and takes particular note of the recent orders issued by the United

States Supreme Couii on July 30, 2018, and November 2, 2018, as well as the extraordinary Order

of the United States Couii of Appeals for the Ninth Circuit in United States v. USDC-ORE, Case




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No. 18-73014 issued on November 8, 2018. At this time, the Comt finds sufficient cause to revisit

the question of interlocutory appeal as to its previous orders, and upon reconsideration, the Court

finds that each of the factors outlined in § 1292(b) have been met regarding the previously

mentioned orders. Thus, this Court now exercises its discretion and immediately cettifies this case

for interlocutory appeal. The Comt does not make this decision lightly. Accordingly, this case is

STAYED pending a decision by the Ninth Circuit Comt of Appeals.

       IT IS SO ORDERED.

       DATED this 0( f      ~r    day of November, 2018.


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                                         ANN AIKEN
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                                   United States District Judge




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